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                  UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF WISCONSIN

SHANNON DESHANNON,

                       Plaintiff,

vs.                                           Case No.: 19-cv-777
ANDREW SAUL,
Commissioner of Social Security,

                       Defendant.


                            NOTICE OF APPEAL



     Notice is hereby given that Shannon DeShannon, by his attorney,
Dana W. Duncan, Duncan Disability Law, S.C., plaintiff in the above named
case, hereby appeals to the United States Court of Appeals for the Seventh
Circuit, an order dated December 3, 2020 and the judgment dated December 3,
2020 by Federal District Judge Barbara Crabb which affirmed the decision of
the Defendant, Andrew Saul, Commissioner of Social Security, denying
plaintiff’s application for disability insurance benefits under 42 U.S.C. §§
216(i) and 223.
     Dated this 30th day of December, 2020.


                                         DUNCAN DISABILITY LAW, S.C.
                                         Attorneys for the Plaintiff


                                         /s/ Dana W. Duncan
                                         Dana W. Duncan
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